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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

CLIFTON LAMAR WILLIAMS,                §
              Petitioner,              §
                                       §
                                       §
               -VS-                    § CIVIL NO. 1:09-cv-271
                                       §
                                       § **DEATH PENALTY CASE**
                                       §
LORIE DAVIS, Director,                 §
Texas Department of Criminal Justice,  §
Correctional Institutions              §
Division,                              §
                       Respondent.     §
______________________________________________________________________________

          APPOINTED COUNSELS’ AMENDED ADVISORY TO THE COURT

                    Mr. Williams is Scheduled For Execution June 21, 2018

       COME NOW, Seth Kretzer and James W. Volberding, appointed counsel, and advise the

Court as follows.

       The Hogan Lovell attorneys who filed appearances today, and Professor Lee Kovarsky,

are experienced and capable attorneys. They will represent Mr. Williams well. Likewise, we are

willing and able to represent Mr. Williams to the best of our ability.

       As we have already informed this Court, the Fifth Circuit, and the state district court, we

have begun working on a successor writ. The issue will concern the application of the Supreme

Court’s decision last year in Bobby James Moore v. Texas, ___ U.S. ___, 137 S. Ct. 1039 (2017).

The Supreme Court rejected the Texas Court of Criminal Appeals Briseño factors for evaluating

mental retardation, the same factors applied to Clifton Williams in 270 S.W.3d 112; 2008 Tex.

Crim. App. LEXIS 1446 (Tex. Crim. App. 2008).




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         Counsel indicates that we have not seen Mr. Williams since 2015. Actually, Mr. Kretzer,

Mr. Volberding, and a paralegal visited Williams ten days ago, April 13. We discussed this with

the Hogan Lovells associate, Catherine Bratic, last week, April 18 and 20, in a series of phone

calls.

         It is true we have had no reason to visit Williams since 2015, as nothing had happened

since 2015 in his federal case in which we were involved. Another state court appointed lawyer,

Doug Parks, also represented Williams during his state successor writ processing. It is simply

untrue that Williams was ever abandoned or left without counsel. The Texas Court of Criminal

Appeals denied his successor writ but the state district court did not set an execution date until

last month.

         We welcome the opportunity to work with Counsel and Professor Kovarsky. Their talent

and experience would no doubt contribute significantly to the briefing we deliver to this Court,

the Fifth Circuit, the state district court and the Texas Court of Criminal Appeals, and in the

clemency petition to the Governor and Texas Board of Pardons and Parole. We have a common

interest in Mr. Williams.

         Nevertheless, we do not understand why Hogan Lovells lists other cases in which we

have appeared. Most of those cases are closed. For example, the Kibert appeal was dismissed

on the Government’s motion in the Fifth Circuit nearly a year ago. Perez-Ceballos was tried in

Fall 2017 and her appellate brief is already on file in the Fifth Circuit. And, of course, “Attorney

Admissions” is not a case but rather a field one fills in when being admitted to the federal bar in

each district.




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       With regards to the case set for execution on Wednesday of this week (Erick Davila), Mr.

Kretzer appeared before the Supreme Court of the United States on April 24, 2017, and argued

Davila v. Davis, obtaining four votes of Justices in favor of remand. 137 S. Ct. 2058 (2017).

       If Clifton Williams wants Hogan Lovells and Professor Kovarsky to represent him, it is

acceptable to us for them to do so. If the Court wishes for us to continue representation, we are

willing and able to do so. What we do not wish, is to do our best for Mr. Williams while

defending our work against Hogan Lovells and Professor Kovarsky at each level. If the Court

orders us to remain as Counsel, we respectfully ask Hogan Lovells and Professor Kovarsky to

work together with us in Mr. Williams’s best interest.

       Respectfully submitted this 24th day of April, 2018.

                                                              /s/ Seth Kretzer

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 24, 2018, I electronically filed the foregoing document with
the Clerk of the Court for the U.S. District Court, Eastern District of Texas. The ECF system sent
a “Notice of Electronic Filing” to counsel for Respondent:

       All Counsel of Record

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       Mr. Clifton L. Williams
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    Livingston, Texas 77351


                                               /s/ Seth Kretzer
                                               Seth Kretzer




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